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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:09CR92
                                               )
              Plaintiff,                       )
                                               )                ORDER FOR
              vs.                              )               NONCUSTODIAL
                                               )              TRANSPORTATION
RICARDO A. FERNANDEZ,                          )
                                               )
              Defendant.                       )

       This matter is before the Court on the Defendant’s request for noncustodial

transportation (Filing No. 72). The Defendant is indigent and requests noncustodial

transportation from Pixley, California, to Omaha, Nebraska, for his trial scheduled for May

4, 2004, at 9:00 a.m., and to prepare for his trial with counsel.       The Defendant also

requests subsistence and lodging.

       The motion will be granted in part and denied in part. The Marshal shall provide

noncustodial transportation and subsistence under 18 U.S.C. § 4285. The request for

separate lodging expenses is denied. Also, the Court advises the Defendant that he may

inquire of U.S. Pretrial Services with regard to lodging at a facility such as a halfway house.

18 U.S.C. §§ 3152-3156 (Pretrial Services Act).

       IT IS ORDERED:

       1.     The Defendant’s request for noncustodial transportation (Filing No. 72) is

granted in part and denied in part as follows:

              a.     the U.S. Marshal shall provide noncustodial transportation from

                     Pixley, California, to Omaha, Nebraska for Defendant to arrive on

                     Sunday, May 2, 2010;
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          b.     the Marshal shall furnish the Defendant with money for subsistence

                 expenses pursuant to 18 U.S.C. § 4285;

    2.    The request for lodging expenses is denied; and

    3.    The Clerk is directed to provide a copy of this Order to the U.S. Marshal.

    DATED this 29th day of April, 2010.

                                     BY THE COURT:


                                     s/Laurie Smith Camp
                                     United States District Judge
